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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 5
     ATTORNEY FOR DEFENDANT
 6   JUAN VILLA, JR.
 7
 8
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )                CR.-S-07-515-04-WBS
                                    )
12        PLAINTIFF,                )                STIPULATION AND PROPOSED
                                    )                ORDER CONTINUING THE
13        v.                        )                JUDGMENT AND SENTENCING TO
                                    )                MONDAY, JANUARY 30, 2012
14   JUAN VILLA, JR.,               )
                                    )
15        DEFENDANT.                )
     _______________________________)
16
17            The United States of American, represented by Assistant United States
18   Attorney, Mr. Michael Beckwith, and defendant Juan Villa, represented by attorney ,
19   Mr. James R. Greiner, hereby agree and stipulate that the judgment and sentencing set
20   for Monday, October 17, 2011, may be vacated off the Court’s calendar and
21   rescheduled for Monday, January 30, 2012, at 9:30 a.m..
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23   ///
24   ///
25   ///
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28                                               1
       Case 2:07-cr-00515-WBS Document 312 Filed 10/14/11 Page 2 of 2


 1        Respectfully submitted:
 2                                  BENJAMIN WAGNER
                                    UNITED STATES ATTORNEY
 3
                                    /s/ Michael Beckwith, by telephone authorization
 4
     DATED: 10-13-11                _____________________________________
 5                                  Michael Beckwith
                                    ASSISTANT UNITED STATES ATTORNEY
 6                                  ATTORNEY FOR PLAINTIFF
 7
 8
     DATED: 10-13-11                /s/ James R. Greiner
 9                                  ___________________________________
                                    James R. Greiner
10                                  Attorney for defendant Juan Villa, Jr
11                                        ORDER
12
13
          FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
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16
     DATED: October 13, 2011
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